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1 By 2 . i i

Case:20-12295-MER Doc#:1

Filed:03/27/20 Entered:03/27/20 16:34:53 Pagel of 8

     

Fill in this information to identify the case:

  

| United States Bankruptcy Court for the:
District of Colorado
(State)

| Case number (if known):

|

   

K if this is an
ed filing

 

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S

   

Official Form 205
Involuntary Petition Against a Non-Individual

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. if you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if

known).

 

Timi identify the Chapter of the Bankruptcy Code Under Which Petition !s Filed

1. Chapter of the Check one:
Bankruptcy Code

a identify the Debtor

2. Debtor’s name

id Chapter 7
CJ Chapter 14

 

Legion Rig Services, LLC

 

3. Other names you know
the debtor has used in
the last 8 years

 

 

 

Include any assumed
names, trade names, or
doing business as names.

 

4. Debtor's federal
Employer Identification “4 Unknown
Number (EIN)

EIN”

 

5. Debtor’s address Principal place of business - Mailing address, if different

32929 County Road 39

 

 

 

 

 

 

Number Street Number Street

PO Box 74

P.O. Box
Lucerne CO 80646 “. Lucerne CO 80646
City State ZIP Code i) City State ZIP Code

* Location of principal assets, if different from
principal place of business

Weld County Colorado
County “cs Number Street

 

 

 

 

City State ZIP Code

 

 

Official Form 205 Involuntary Petition Against a Non-Individual page 1

 
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Debtor Legion Rig Services, LLC Case number (known)

Name

 

 

 

6. Debtor’s website (URL) legionrigservices.com

{
t

M4 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
L) Partnership (excluding LLP)
{) Other type of debtor. Specify:

j
| 7. Type of debtor

 

 

8. Type of debtor's

 

 

business Check one:
Q) Health Care Business (as defined in 11 U.S.C. § 101(27A))
LI} Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
() Railroad (as defined in 11 U.S.C. § 101(44))
(] Stockbroker (as defined in 11 U.S.C. § 101(53A))
LJ Commodity Broker (as defined in 11 U.S.C. § 101(6))
U] Clearing Bank (as defined in 11 U.S.C. § 781(3))
None of the types of business listed.

: (J Unknown type of business.
9. To the best of your i No
knowledge, are any
bankruptcy cases (2 Yes. Debtor Relationship

pending by or against

 

 

any partner or affiliate District Date filed cM7DD WWW Case number, if known, pe
of this debtor?
Debtor Relationship
District : Date filed Case number, if known.
MM /DD/YYYY
Ee Report About the Case
10. Venue Check one:

 

Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
business, or principal assets in this district longer than in any other district.

La bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

 

11. Allegations Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a). :

At least one box must be checked:

id The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
fide dispute as to liability or amount.

QQ within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
agent appointed or authorized to take charge of less than substantially all of the property of the
debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

 

12. Has there beena WI No

transfer of any claim
against the debtor by or () Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy

to any petitioner? . Rule 1003(a).

 

 

 

Official Form 205 Involuntary Petition Against a Non-Individual page 2

 
 

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Debtor Legion Rig Services, LLC Case number (if known),
Name
43. Each petitioner's clam "Name of petitioner ee ee ‘Nature of petitioner's claim _ Amount of the claim %
DEUS 0 ee COLDER eg ee above the value of. =:
: ‘ ~ any lien - Hoes
Aaron Towne unpaid wages ¢ 13,610.25
Raul Gonzalez unpaid wages ¢ 4,650.00
Eric Tornquist unpaid wages ¢ 13,333.00
Total of petitioners’ claims $ 31,593.25

x

 

; Petitioners ‘or Petitioners’ Representative. Q

If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each

additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner's (or representative’s) signature,
along with the signature of the petitioner's attorney.

Ea Request for Relief

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the information in this document and have a reasonable belief that the information is true and correct.

. / Attorneys ae

 

 

 

 

 

 

 

Name and mailing address of petitioner
Aaron Towne clo Sawaya Law David H. Miller
Name Printed name

The Sawaya & Miller Law Firm
1600 Ogden Street __ os
Number Street 2
Denver, co 80218 | 1600 Ogden Street
City State ZIP Gode a Number Street

Denver, CO 80218

 

Name and mailing address of petitioner’s representative, if any City State ZIP Code

Contact phone 303-839-1650 emai dhmiller@sawayalaw gy

 

Name

Bar number 8405

 

 

 

Number Street

State CO

 

City State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct.

Executed on _ 3/27/2020 | x
MM 7DD/YYYY |

dy pm.

Signature of petitioner or representative, including representative’s title - Date signed

 

 

Signature of attorney

 

MM /DD /YYYY

 

Official Form 205 Involuntary Petition Against a Non-Individual page 3

 

 

 
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Debtor Legion Rig Services, LLC

 

Name

Case:20-12295-MER Doc#:1 Filed:03/27/20 Entered:03/27/20 16:34:53 Page4 of 8

Case number (if known).

 

Name and mailing address of petitioner

Raul Gonzalez c/o Sawaya Law

 

 

 

 

 

Name

1600 Ogden Street

Number Street

Denver, co 80218
City State ZIP Code

Name and mailing address of petitioner’s representative, if any
5242 creek trail

 

Name

 

Number Street

Las Cruces NM 88012

 

City State ZIP Code

| deciare under penalty of perjury that the foregoing is true and correct. .
3/27/2020 a

Executed on
MM /DD /YYYY

x Paul = Marsules

Signature of petitioner or representative, including representative’s title

 

David H. Miller

Printed name

 

The Sawaya & Miller Law Firm

Firm name, if any

 

 

 

1600 Ogden Street
Number Street

Denver, co 80218
City State ZIP Code

Contact phone 303-839-1650 emai dhmiller@sawayalaw gy

 

Bar number 8405

 

 

State co
Signature of attorney
Date signed

MM /DD /YYYY

 

 

Name and mailing address of petitioner

Eric Tornquist c/o Sawaya Law

 

 

 

Name

1600 Ogden Street

Number Street

Denver, co 80218
City State ZIP Code

Name and mailing address of petitioner’s representative, if any

 

 

Name

 

Number Street

 

City State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct. _

Xx

Executed on
MM /DD /YYYY

x

 

Signature of petitioner or representative, including representative's title

David H. Miller

Printed name

 

The Sawaya & Miller Law Firm

Firm name, if any

 

 

 

1600 Ogden Street
Number Street

Denver, co 80218
City State ZIP Code

Contact phone 303-839-1650 Emay dhmiller@sawayalaw gy

 

Bar number 8405

 

State co

 

Signature of attorney

Date signed
MM /DD /YYYY

 

 

Official Form 205

involuntary Petition Against a Non-Individual page 4
 

* Suen Dr

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Debtor Legion Rig Services, LLC

Name

ae fo V

Case number tt known)

 

Name and mailing address of petitioner

Raul Gonzalez c/o Sawaya Law

David H. Miller

Case:20-12295-MER Doc#:1 Filed:03/27/20 Entered:03/27/20 16:34:53 Page5 of 8

 

 

Printed name

 

 

 

 

 

Name
The Sawaya & Miller Law Firm

1600 Ogden Street Fin name Wavy

Number Street

Denver, co 80218 1600 Ogden Street

City State ZIP Code Number Street
Denver, co 80218
City State ZIP Code

Name and mailing address of petitioner's representative, if any

Contact phone 303-839-1650 5,14 dhmiller@sawayalaw.ci

 

 

Name

8405

Bar number

 

Number Street

State co

 

City State

ZIP Code

I declare under penalty of perjury thatthe foregoing is true and correct. 2

Executed on
MM /DD /YYYY

x

y

 

Signature of attomey

 

Signature of petitioner or representative; including representative's title

Name and mailing address of petitioner

Eric Tornquist c/o Sawaya Law

Date signed
MM / DD /YYYY

David. H. Miller

 

 

Printed name

 

 

 

 

 

Name
The Sawaya & Miller Law Firm

1600 Ogden Street Fim name, Weny

Number Street

Denver, co 80218 1600 Ogden Street

City State ZIP Code Number Street
Denver, co 80218
City State ZIP Code

Name and mailing address of petitioner's representative, if any

Contact phone 303-839-1650 em, dhmiller@sawayalaw.ct

 

 

Name

8405

Bar number

 

 

Number Street

State co

 

City State

ZIP Code

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 63 . al- ao20

MM /DD /YYYY

Signature of petitioner or represe

Official Farm 205

   

ve, including representative's title

x

 

Signature of attorney

Date signed
MM /DD /YYYY

involuntary Petition Against a Non-Individual

page 4

 

 

 
 

Pageé of 8

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

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THE SAWAYA LAW FIRM

1600 Ogden Street » Denver, Colorado 80218

-Michael G. Sawaya
Richard B. Rose
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David H. Miller

Nicole J. Ruth ++ #
Sean M. Knight

Jason M. Carpenter

C. Todd Mason + --
Zachary C. Elsner -

Travis Barbarick
Robert E. Caldwell *
Adam M. Harrison >
William C. Harris
Brian M. Caplan
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Robert W. Kitzinger
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Laura M. Browne
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Workers’ Compensation / Social Security: 303-551-7701 « Fax 303-962-4226

March 27, 2020

www.sawayalaw.com

++ Also admitted in NC
# Also admitted in FL
+ Also admitted in TN
-- Also admitted in WA
* Also admitted in MO
> Also admitted to VA
< Also admitted to MN

U.S. Bankruptcy Court
721 19" Street
Denver, CO 80202

RE: Involuntary Petition Against a Non-Individual — Legion Rig Services, Debtor

Dear Clerk:

Please find enclosed for filing the following:

1. Involuntary Petition Against a Non-Individual — Legion Rig Services, Debtor
2. Summons to Debtor in Involuntary Case (for issuance)
3. Check for filing fees in the amount of $335.00, payable to Clerk, USBC

Thank you for your kind assistance in regard to this matter. Please contact me if you should

have any questions.

Enc.

   
  

 

Very truly yours
fy fff ff

prActt~.,
David H. Miller

 
